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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

                                                )
 UNITED STATES OF AMERICA                       )   Criminal Case No. 1:23-cr-118-SE-AJ-01
                                                )
          v.                                    )
                                                )
 TYLER ANDERSON                                 )
                                                )

                                        INDICTMENT

       The Grand Jury charges:

                                          COUNT ONE
                             Interstate Threatening Communications
                                        18 U.S.C. § 875(c)

       On or about November 22, 2023, in the District of New Hampshire, the defendant

                                     TYLER ANDERSON

for the purpose of issuing a threat and with knowledge that the communication would be viewed

as a threat, did transmit a communication in interstate commerce containing a threat to kidnap

and injure the person of another, namely, a series of text messages to U.S. Presidential Candidate

1 containing a threat to “impale” and “disembowel” U.S. Presidential Candidate 1, in violation of

Title 18, United States Code, Section 875(c).

                                          COUNT TWO
                             Interstate Threatening Communications
                                        18 U.S.C. § 875(c)

       On or about December 6, 2023, in the District of New Hampshire, the defendant

                                     TYLER ANDERSON

for the purpose of issuing a threat and with knowledge that the communication would be viewed

as a threat, did transmit a communication in interstate commerce containing a threat to kidnap

and injure the person of another, namely, a series of text messages to U.S. Presidential Candidate
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2 containing a threat to “blow” the head off of U.S. Presidential Candidate 2 and conduct

a “mass shooting,” in violation of Title 18, United States Code, Section 875(c).

                                          COUNT THREE
                              Interstate Threatening Communications
                                         18 U.S.C. § 875(c)

          On or about December 8, 2023, in the District of New Hampshire, the defendant

                                      TYLER ANDERSON

for the purpose of issuing a threat and with knowledge that the communication would be viewed

as a threat, did transmit a communication in interstate commerce containing a threat to kidnap

and injure the person of another, namely, a series of text messages to U.S. Presidential Candidate

3 containing a threat “blow” the “brains out” of U.S. Presidential Candidate 3 and “kill

everyone” who attends a campaign event, in violation of Title 18, United States Code, Section

875(c).

                                                     A TRUE BILL


Dated: December 20, 2023                             /s/ Foreperson
                                                     FOREPERSON


JANE E. YOUNG
UNITED STATES ATTORNEY


          /s/ Charles L. Rombeau
By:       Charles L. Rombeau
          Assistant U.S. Attorney




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